     Case 1:12-cr-00184-DAD-BAM Document 173 Filed 02/12/16 Page 1 of 5


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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 1:12-cr-00184-DAD-BAM-2
12                      Plaintiff,
13          v.                                         ORDER DENYING EXTENSION OF TIME
                                                       TO FILE NOTICE OF APPEAL UNDER
14   DAVID ARREOLA,                                    FEDERAL RULE OF CIVIL PROCEDURE
                                                       4(b)(4)
15                      Defendant.
                                                       (Doc. Nos. 156, 159, 160, 168)
16

17          On August 3, 2015, defendant filed an Ex Parte Motion for Appointment of Counsel to

18   assist him in preparing and filing a motion for reduction of sentence pursuant to 18 U.S.C. §

19   3582(c). (Doc. No. 153.) The Office of the Federal Defender in this District filed notice with this

20   court that it did not recommend the appointment of counsel in this case for that purpose. (Doc.

21   No. 154.) On November 17, 2015, the previously assigned District Judge issued an order denying

22   defendant‟s motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). (Doc. No. 156.)

23   On December 8, 2015, defendant filed a notice of appeal from the court‟s November 17, 2015

24   order. (Doc. Nos. 159 & 160.)

25          On December 9, 2015, the Ninth Circuit Court of Appeals issued an order noting that

26   defendant had filed his Notice of Appeal more than 14 days after entry of the order denying his

27   motion to reduce his sentence, but within 30 days after the expiration of the time to file a notice

28   of appeal. Because defendant‟s notice of appeal was filed more than 14 days after entry of the
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     Case 1:12-cr-00184-DAD-BAM Document 173 Filed 02/12/16 Page 2 of 5


 1   order in question, it was untimely under Federal Rule of Appellate Procedure 4(b)(1)(A). The

 2   Ninth Circuit, therefore, remanded this matter to the district court:

 3                  for the limited purpose of permitting the district court to provide
                    appellant notice and an opportunity to request that the time for
 4                  filing the notice of appeal be extended, for a period not to exceed
                    30 days from the expiration of the time prescribed by Rule 4(b),
 5                  upon a finding of excusable neglect or good cause.
 6          On December 11, 2015, this court issued an order seeking additional briefing and,

 7   specifically, directing defendant:

 8                  to advise the court in writing no later than December 24, 2015,
                    whether he requests the court to extend the time for filing his
 9                  Notice of Appeal and, if so, to provide the court with an
                    explanation for his failure to file a notice of appeal within the
10                  fourteen (14) days required by Federal Rule of Appellate Procedure
                    4(b)(1)(A). If defendant does not establish excusable neglect or
11                  good cause, there will not be any basis for this court to consider
                    whether to extend the time for him to file a notice of appeal in this
12                  action. Since this court is operating under a deadline if it chooses
                    to grant an extension under Federal Rule of Civil Procedure 4(b)(4),
13                  no extensions of time will be granted to respond to this order.
14   (Doc. No. 163 at 3:5-13.)

15          On the same day it issued, the order was served by mail via the United States Postal

16   Service. However, due to a clerical error the order was erroneously served on a co-defendant

17   rather than upon defendant Arreola. Ten days later this clerical error was apparently discovered

18   by Clerk‟s Office staff and the December 11 order was reserved on defendant Arreola by mailing

19   it to him at the address provided by the Ninth Circuit in its order of December 9, 2015. However,

20   it appeared to the undersigned likely that defendant Arreola did not receive this court‟s order
21   inviting additional briefing until on or after the deadline set for him to respond. Consequently, to

22   provide defendant Arreola with adequate notice, on January 5, 2016, the court reissued its

23   December 11 order inviting additional briefing and provided defendant Arreola with a new

24   deadline to respond of January 27, 2016. (Doc. No. 168.) On the same it issued, this order was

25   served on defendant Arreola by mail via the United States Postal Service to the proper address

26   provided by the Ninth Circuit in its December 9, 2015 order.
27          Defendant did not comply with the court‟s January 27, 2016 deadline. Accordingly, on

28   February 2, 2016, this court issued an order denying defendant an extension of time to file a
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     Case 1:12-cr-00184-DAD-BAM Document 173 Filed 02/12/16 Page 3 of 5


 1   notice of appeal under Federal Rule of Civil Procedure 4(b)(4). (Doc. No. 171.) However, also

 2   on February 2, 2016, defendant‟s response to the January 5, 2016 order was entered into docket.

 3   (Doc. No. 170.) The response was dated the day after the response was due and was filed at the

 4   clerk‟s office several days later on February 1, 2016. (Id.) In light of the defendant‟s submission,

 5   the court withdrew its February 2, 2016 order. (Doc. No. 172.) However, for the following

 6   reasons and after having reviewed defendant‟s most recent submission, the court now declines to

 7   grant defendant an extension of time to file a notice of appeal under Federal Rule of Civil

 8   Procedure 4(b)(4).

 9                                              DISCUSSION

10          “In a criminal case, the district court has discretion under [Federal Rule of Appellate

11   Procedure] 4(b) to grant an extension of time [for filing a notice of appeal] upon finding

12   „excusable neglect.‟” United States v. Prairie Pharmacy, Inc., 921 F.2d 211, 212 (9th Cir. 1990).

13   Federal Rule of Appellate Procedure 4(b)(4) provides:

14                  Upon a finding of excusable neglect or good cause, the district
                    court may - before or after the time has expired, with or without
15                  motion and notice - extend the time to file a notice of appeal for a
                    period not to exceed 30 days from the expiration of the time
16                  otherwise prescribed by this Rule 4(b).
17          In cases such as this one in which a prisoner seeks to appeal pro se, both the Supreme

18   Court and Ninth Circuit have held “a notice of appeal filed by an incarcerated prisoner, after the

19   time for filing a notice of appeal had run, [is] timely if the appellant „did all he could do under the

20   circumstances‟ to file his appeal within [the proscribed deadline].” Prairie Pharmacy, 921 F.2d
21   at 213 (quoting Fallen v. United States, 378 U.S. 139, 144 (1964), and citing United States v.

22   Houser, 804 F.2d 565 (9th Cir. 1986)).

23          In the court‟s January 5, 2015 order, defendant was directed to advise the court in writing

24   no later than January 27, 2015, whether he requested an extension of time for filing his Notice of

25   Appeal and, if so, to provide the court with an explanation for his failure to file his Notice of

26   Appeal within the 14 days of the filing of the order which is the subject of the appeal as required
27   by Federal Rule of Appellate Procedure 4(b)(1)(A). Defendant Arreola responded to this order,

28   but not within the time period that he was directed to do so.
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     Case 1:12-cr-00184-DAD-BAM Document 173 Filed 02/12/16 Page 4 of 5


 1          In his untimely response, defendant alleges that, on May 20, 2012, there was a serious

 2   disturbance at the Adams County Correctional Institution, where he is currently incarcerated.

 3   (Doc. No. 170.) The disturbance resulted in extensive staff injuries, a staff fatality, and serious

 4   damage to infrastructure, including the programs building that houses access to the law library.

 5   (Id.) Consequently, access to the law library has been limited to once a week, on a first come first

 6   served basis, for a maximum of about five hours. (Id.) Furthermore, the law library has eight

 7   computers, three functioning typewriters, and one law-library clerk to assist around 2,600

 8   inmates. (Id.) As a result, defendant alleges he was unable to timely file his Notice of Appeal.

 9   (Id.) Defendant does not explain why his response to the court‟s order for additional briefing was

10   also late, but the court assumes he would allege a similar reason as he presented with respect to

11   his untimely Notice of Appeal.

12          Nevertheless, the court finds that defendant has not sufficiently established a basis upon

13   which to make a finding of excusable neglect or good cause in order to extend the time for him to

14   file a notice of appeal. Defendant has not explained how the limited access to the law library kept

15   him from filing a timely notice of appeal. See United States v. Divito, 415 Fed. Appx. 151, 153

16   (11th Cir. 2011) (defendant failed to demonstrate how any inadequacies in the prison law library

17   kept him from filing a timely notice of appeal). For example, defendant alleges only that he was

18   provided limited law library access. He provides not explanation as to why he needed access to

19   the law library merely to file a notice of appeal. Extensive legal research is not needed to file a

20   notice of appeal. Likewise, legal research on defendant‟s part was not needed to respond to the
21   court‟s order for additional briefing. That order explicitly provided defendant with the applicable

22   legal standard for the granting of extensions of time under Rule 4(b) and also provided him with

23   examples of situations in which courts had entered findings of good cause or excusable neglect to

24   do so. (Doc. No. 168, at 2:19-3:16.) Defendant, however, was late both in filling his notice of

25   appeal and in responding to the court‟s order for additional briefing on whether he should be

26   granted an extension of time in which to do so. Under these circumstances, defendant simply has
27   not established that he “„did all he could do under the circumstances‟ to file his appeal within [the

28   proscribed deadline].” Prairie Pharmacy, 921 F.2d at 213 (quoting Fallen, 378 U.S. at 144 ).
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     Case 1:12-cr-00184-DAD-BAM Document 173 Filed 02/12/16 Page 5 of 5


 1   Accordingly, the court declines to grant defendant an extension of time to file a notice of appeal

 2   under Federal Rule of Civil Procedure 4(b)(4).

 3            For the reasons set forth above,

 4            (1) This court declines to grant defendant an extension of time to file a notice of appeal

 5               under Federal Rule of Civil Procedure 4(b)(4);

 6            (2) The Clerk of the Court is DIRECTED to TERMINATE defendant David Arreola and

 7               CLOSE THE CASE; and

 8            (3) The Clerk of the Court is directed to serve this order on defendant David Arreola at:

 9                           David Arreola
                             68795-097
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                             Adams County Correctional Center
11                           P.O. Box 1600
                             Washington, MS 39190
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     IT IS SO ORDERED.
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15   Dated:     February 11, 2016
                                                            UNITED STATES DISTRICT JUDGE
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